            Case 5:20-cv-01432-XR Document 1 Filed 12/16/20 Page 1 of 11




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

  CAROL RODRIGUEZ,                               §
                                                 §
                                                 §
                                                 §
                   Plaintiff,                    §
  v.                                             §     CIVIL ACTION NO. 5:20-cv-1432
                                                 §
                                                 §     JURY DEMANDED
                                                 §
  TOYOTA MOTOR MGF TEXAS,                        §
  INC.                                           §
           Defendant.                            §


  __________________________________________________________________________

                     PLAINTIFF’S ORIGINAL COMPLAINT
______________________________________________________________________________

TO THE HONORABLE U.S. DISTRICT JUDGE:

       NOW COMES, Plaintiff, Carol Rodriguez (hereinafter referred to as “Ms. Rodriguez” or

“Plaintiff”), complaining of and about Defendant, Toyota Motor MGF Texas, Inc. (hereinafter

referred to as “Defendant”), and for cause of action files this Original Complaint, showing to the

Court the following:

                                           I.
                                  PARTIES AND SERVICE

       1.      Plaintiff, Carol Rodriguez, is a citizen of the United States and the State of Texas

and resides in San Antonio, Bexar County, Texas.

       2.      Defendant, TOYOTA MOTOR MGF TEXAS, INC., within the State of Texas and

operating business in San Antonio, Bexar County, Texas.


                                                1
            Case 5:20-cv-01432-XR Document 1 Filed 12/16/20 Page 2 of 11




       3.      Defendant TOYOTA MOTOR MFG, TEXAS, INC., may be served with process

by serving its Registered Agent of Service: C T Corporation System, 1999 Bryan St., Ste. 900

Dallas, TX 75201-3136 USA


                                            II.
                                 JURISDICTION AND VENUE

       4.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331, as Plaintiff’s causes of

action arise under federal statutes, namely Title VII of the Civil Rights act of 1964, 42 U.S.C. §

2000e-2(a)(1) (2012).

       5.      This Court also has jurisdiction pursuant to 28 U.S.C. § 1331, as Plaintiff’s causes

of action arise under federal statutes, namely The American’s of Disabilities Acts of 1990, 42

U.S.C. § 12112.

       6.      Venue is proper in the Western District of Texas – San Antonio Division pursuant

to 28 U.S.C. § 1391(a), because this is the judicial district where a substantial part of the events or

omission giving rise to the claim occurred.

                                             III.
                                      NATURE OF ACTION

       7.      This is an action brought pursuant to Title VII (Sec.2000e) to correct and recover

for Defendant’s unlawful employment practices on the bases of Plaintiff’s gender (sex), disability

discrimination under the ADA (42 USC 12101) and Defendant’s retaliation against Plaintiff for

her opposition to such discriminations. This action seeks to recover damages caused to Plaintiff

by Defendant’s unlawful and discriminatory employment practices, including damages from

Plaintiff’s disciplinary actions from Toyota Motor MGF Texas, Inc. (hereinafter referred to as

“Toyota”).

                                                  2
             Case 5:20-cv-01432-XR Document 1 Filed 12/16/20 Page 3 of 11




                                      IV.
                             CONDITIONS PRECEDENT
                     EXHAUSTION OF ADMINISTRATION REMEDIES

        8.      All conditions precedent to jurisdiction have occurred with regard to exhaustion of

administrative remedies.

        9.      On November 18, 2019, Plaintiff filed a charge with the U.S. Equal Employment

Opportunity Commission (“EEOC”) against Defendant for discrimination based on sex, disability

and retaliation (Charge No. 451-2020-00614).

        10.     Subsequently the EEOC issued Plaintiff a Notice of Right Sue, dated September

18,2020. Plaintiff files this lawsuit within ninety (90) days of receiving the Notice. Therefore, this

lawsuit is timely filed.

        11.     No administrative exhaustion or other conditions precedent are required prior to

filling of claims under 42 U.S.C. § 1983.

                                                V.
                                              FACTS

        12.     Defendant hired Ms. Rodriguez around November, 2009 as a leased employee

through Aerotech.

        13.      Ms. Rodriguez performed admirably and was hired as a fulltime employee on April

18, 2011 in the position of Quality Inspector.

        14.      Ms. Rodriguez began experiencing sexual harassment from interactions with Zeke

Santillan, which began around the summer of 2013. In this regard, Toyota’s supervisors and

human resources department were well acquainted with the complaints about Mr. Santillan’s

degrading sexual comments about and toward women working around him; not just by Ms.

Rodriguez, but other female employees.

                                                  3
            Case 5:20-cv-01432-XR Document 1 Filed 12/16/20 Page 4 of 11




          15.   Mr. Santillan had another complaint filed against him in 2013, which was raised by

another female employee. Ms. Rodriguez was called in to give a statement to human resources

about Mr. Santillan’s conduct at that time. Ms. Rodriguez detailed Mr. Santillan’s actions,

including Mr. Santillan constantly wanting/trying to touch Ms. Rodriguez and give her hugs. Mr.

Santillan was moved out of Ms. Rodriguez’s area at that time. Brian Cunningham in Human

Resources called and spoke with Ms. Rodriguez on a separate issue, and at the end of that call, Mr.

Cunningham confirmed Mr. Santillan had been moved. However, no further discipline as to Mr.

Santillan was known to have occurred, although Ms. Rodriguez would not necessarily be aware of

any verbal or written warnings.

          16.   In March of 2018, Ms. Rodriguez was transferred back into a department where

Mr. Santillan was located. Mr. Santillan kept his distance from Ms. Rodriguez for a short amount

of time, as Ms. Rodriguez was in a different group in the department. However, in November of

2018, Mr. Santillan started his same antics again after Ms. Rodriguez was placed back in his group.

          17.   Between November of 2018 and January of 2019, Ms. Rodriguez experienced and

shared with HR at Toyota about Mr. Santillan’s conduct that Ms. Rodriguez had to witness and

endure.

          18.   This would include instance where Ms. Rodriguez and Mr. Santillan were

discussing an issue with a work process and Mr. Santillan concluding that Ms. Rodriguez owed,

“Alfred a blowjob,” while Mr. Santillan placed his tongue against his cheek.

          19.   At a later instance, Mr. Santillan made another comment to Ms. Rodriguez that she

owed several men blowjobs.

          20.   On a separate occasion, Mr. Santillan told Ms. Rodriguez that she, “could not have


                                                4
            Case 5:20-cv-01432-XR Document 1 Filed 12/16/20 Page 5 of 11




accidentally stopped the line with her hips because she has no ass. It must have been her big feet

or big tits.” Mr. Santillan then laughed and proceeded to walked away.

        21.       On a separate occasion when Ms. Rodriguez needed to use the restroom, Mr.

Santillan would ask if she, “needed to take a shit?”

        22.       On multiple occasions, Mr. Santillan would make sexual gestures to Ms. Rodriguez

as if squirting sperm at her.

        23.       On a separate occasion while working together in a truck, Mr. Santillan attempted

to grab Ms. Rodriguez’s breast and came within inches of doing so. Ms. Rodriguez verbally

stopped him.

        24.       Ms. Rodriguez also witnessed another employee by the name of Michelle Miller

ask Mr. Santillan if he, “had enough,” while she bent over so he could look at her butt and asked

if he liked it.

        25.       Ms. Rodriguez also heard Ms. Miller asking a Team Member if he wanted to touch

Ms. Rodriguez’s butt. When Ms. Rodriguez reported this, no action was taken for Ms. Miller’s

conduct.

        26.       Mr. Santillan has spread several false and inappropriate stories about Ms.

Rodriguez throughout the plant. This was due to his dislike for Ms. Rodriguez given her continued

push back and complaints about his misconduct.

        27.       After enduring Mr. Santillan’s abuse for many years on a daily basis, Ms.

Rodriguez began feeling uncomfortable, stressed and agonized about her interactions with Mr.

Santillan. Ms. Rodriguez began feeling aware of Mr. Santillan’s retaliation towards her.

        28.       Ms. Rodriguez was not the only woman in the plant that was experiencing the same


                                                  5
          Case 5:20-cv-01432-XR Document 1 Filed 12/16/20 Page 6 of 11




treatment, and her immediate supervisors were well aware of Mr. Santillan’s character and often

witnessed and ignored it.

        29.    On January 23, 2019, Ms. Rodriguez and Mr. Santillan had a heated discussion on

the line and Mr. Santillan had a demeaning tone towards Ms. Rodriguez. After the incident, Ms.

Rodriguez went to her supervisor, Carlos Rodriguez, to discuss the immediate treatment that had

occurred. Mr. Rodriguez recommended that Ms. Rodriguez take a break to calm down and clear

her head. Ms. Rodriguez was shaken up, so she asked if she could take the rest of the day off and

he approved. Mr. Santillan assumed that Ms. Rodriguez went to HR rather than going home. Mr.

Santillan then went to HR to try to defend himself and put up a defense against a complaint he

“believed” had occurred. The following day, Mr. Rodriguez informed Ms. Rodriguez that there

was an open investigation. Ms. Rodriguez had a two-hour meeting with someone by the name of

John Luna to take down all the actions of sexual harassment and gender issues that Mr. Santillan

was engaging in. When he heard the information, Mr. Luna stated that such actions should lead

to termination. Mr. Luna also spoke with Mr. Rodriguez. Mr. Rodriguez knew that Ms. Rodriguez

was being sexually harassed, but did not look into it nor did he know that Mr. Santillan was the

main perpetrator.

        30.    During the investigation, Ms. Rodriguez went on leave due the mental and physical

health issues that had arose and worsened gradually at that point. As a result of the treatment Ms.

Rodriguez had gone through, Ms. Rodriguez began experiencing symptoms related to anxiety,

stress, depression, lack of sleep and strong, daily headaches. Ms. Rodriguez continues to

experience them to this day. Ms. Rodriguez has been receiving regular treatment since January 24,

2019.


                                                6
          Case 5:20-cv-01432-XR Document 1 Filed 12/16/20 Page 7 of 11




       31.     Ms. Rodriguez returned on March 12, 2019, and Mr. Santillan was moved to a

different area and shift. However, when Ms. Rodriguez returned, she was placed in isolation and

treated coldly by her coworkers, as many were upset about the complaints against Mr. Santillan

and the fact that he was moved.

       32.     Ms. Rodriguez asked Carlos Rodriguez why Mr. Santillan was not terminated. Mr.

Rodriguez then motioned with his finger for Ms. Rodriguez to quiet down and told her to just let

it go. Ms. Rodriguez was told many times thereafter to just forget about it and that he was gone

and not working around her anymore. Ms. Rodriguez was also told by her new group leader, Luis

Corpus, that Mr. Santillan was not being terminated because he had a clean record, although this

was false, as he had the same type of complaints made against him by employees by the name of

Evette Winter after Ms. Rodriguez’s first complaint. Mr. Santillan had also been engaging in this

same treatment against others, including employees by the name of Yolanda Rosel and Patricia

Wireman. Ms. Rodriguez also recalled that Mr. Santillan had mentioned to her that he had, “friends

in high places.”

       33.     In the Summer of 2019, Ms. Rodriguez was on short-term leave for a work-related

shoulder injury. Ms. Rodriguez did not want to go through the worker’s comp. process due to prior

difficulties in using such a system. This was noted and recorded in her communications with the

worker’s comp. representative. When Ms. Rodriguez returned, she continued to receive retaliatory

treatment from her co-workers and supervisors on a near daily basis. This harassment, including

shunning, speaking negatively to and about Ms. Rodriguez and hiding her phone and wallet. This

has heightened her disability issues of anxiety, severe stress, sleeplessness and depression.

       34.     In mid-October of 2019, Ms. Rodriguez had to loudly and aggressively comment


                                                 7
          Case 5:20-cv-01432-XR Document 1 Filed 12/16/20 Page 8 of 11




back to peers in her department regarding the picking-on and harassment. Since Human Resources

refuses to rectify the situation by ensuring the behavior be stopped or persons be disciplined, Ms.

Rodriguez is now being disciplined with warning for her comments made that are brought on by

the very stress and anxiety that Toyota is allowing to happen.

       35.     Ms. Rodriguez continues to experience discrimination and retaliation from her co-

workers, and management refuses to rectify this ongoing discriminatory and retaliatory conduct.

                                            VI.
                                      CAUSE OF ACTION

                     COUNT 1 - ADA DISABILITY DISCRIMINATION


       36.     Plaintiff incorporates by reference all of the foregoing allegations in each of the

paragraphs above as if fully set forth herein.

       37.     Plaintiff is disabled as defined by the ADA. See 42 U.S.C. §§ 12102 and 12111(8).

       38.     Defendant violated the ADA by intentionally discriminating against Plaintiff on the

basis of his disability, including treating him less favorably than non-disabled employees. See 42

U.S.C. § 12112.

       39.     Defendant further discriminated against Plaintiff by denying her request for

reasonable accommodations, in violation of 42 U.S.C. §§ 12111(9) and 12112(b)(5)(A). Plaintiff

repeatedly approached Defendant’s management, Human Resources, and Ethics department to

report the increasingly intolerable work environment and its negative impact on her mental health

and anxiety. On several occasions, Plaintiff requested accommodations to avoid and/or counteract

the aggravation of her disability. Defendant refused and gave no reason.




                                                 8
          Case 5:20-cv-01432-XR Document 1 Filed 12/16/20 Page 9 of 11




        COUNT 2: SEX DISCRIMINATION PURSUANT TO TITLE VII OF THE CIVIL

                                         RIGHTS ACT OF 1964

       40.     Plaintiff incorporates by reference all of the foregoing allegations in each of the

paragraphs above as if fully set forth herein.

       41.     Defendants intentionally engaged in unlawful employment practices against

Plaintiff on the basis of her sex in violation of Title VII, 42 USC SEC 2000e.

                                  COUNT 3 – RETALIATION

       42.     Plaintiff incorporates by reference all of the foregoing allegations in each of the

paragraphs above as if fully set forth herein.

       43.     Defendant intentionally retaliated against Plaintiff because of the complaints made

to Defendant about the disability discrimination, in violation of the ADA. Despite Defendant’s

knowledge of Plaintiff’s disability, Plaintiff was subjected to ever-increasing hostile treatment and

an unsafe work environment. Defendant’s refusal to take any remedial action or otherwise make

any reasonable accommodation for Plaintiff exacerbated her anxiety, stress, depression, lack of

sleep and strong, daily headaches. Plaintiff continued to plead with Defendant to investigate and

address the pervasively hostile and unsafe work environment and those employees responsible for

same. Instead and shortly thereafter, Plaintiff was being disciplined with warning.

       44.     Defendant has retaliated against Plaintiff by taking an adverse employment action

against her and after she opposed the illegal discriminatory practices used against Plaintiff’s sex

                                              VII.
                                            DAMAGES

       45.     Plaintiff sustained the following damages as a result of the actions and/or omissions

of Defendant described hereinabove:

                                                 9
            Case 5:20-cv-01432-XR Document 1 Filed 12/16/20 Page 10 of 11




       a)     Compensatory damages (including emotional pain and suffering, inconvenience,

       mental anguish, loss of enjoyment of life, and other non-economic damages) allowed

       under the Texas Labor Code.

       b)     Economic damages in the form of lost back pay and lost fringe benefits in the past.

       Economic damages, in the form of lost wages and fringe benefits that will, in reasonable

       probability, be sustained in the future.

       c)     All reasonable and necessary costs in pursuit of this suit, including attorney’s fees

       pursuant to the Texas Labor Code.

       46.      Pursuant to Rule 47 of the Texas Rules of Civil Procedure, Plaintiff hereby seeks

monetary relief over $200,000 but not more than $1,000,000 including costs, expenses, pre- and

post-judgment interests, and attorney’s fees. Plaintiff further requests that the non-expedited rules

apply in this case.

                                             VIII.
                                         JURY DEMAND

       47.      Plaintiff demands a jury trial and tenders the appropriate fee with this petition.


                                                IX.
                                              PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff, Carol Rodriguez, respectfully

prays that Defendant, TOYOTA MOTOR MGF OF TEXAS, INC., be cited to appear and answer

herein, and that upon a final hearing of the cause, judgment be entered for the Plaintiff against

Defendant for damages in an amount within the jurisdictional limits of the Court, together with

interest as allowed by law, costs of court, and such other and further relief to which the Plaintiff

may be justly entitled at law or in equity.

                                                  10
Case 5:20-cv-01432-XR Document 1 Filed 12/16/20 Page 11 of 11




                     Respectfully Submitted,




                      _____________________
                     Alfonso Kennard, Jr.
                     Texas Bar No. 24036888
                     2603 Augusta Dr., Suite 1450
                     Houston, TX 77057
                     Main: 713-742-0900
                     Fax: 713-742-0951
                     ATTORNEYS FOR PLAINTIFF
                     CAROL RODRIGUEZ




                              11
